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               IN THE UNITED STATES DISTRICT COURT FOR THE

                         DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:12CR307
                              )
          v.                  )
                              )
JAMIE WALKER,                 )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

to continue sentencing (Filing No. 57).          Inasmuch as defendant is

in custody, the Court finds the motion should be denied.

Accordingly,

          IT IS ORDERED that defendant’s motion to continue

sentencing is denied.

          DATED this 3rd day of May, 2013.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
